      Case 4:19-cr-00120-RGE-HCA Document 231 Filed 01/21/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


UNITED STATES OF AMERICA,
                                                           No. 4:19-cr-00120-RGE-HCA-1
       Plaintiff,

v.
                                                                   FINAL ORDER
FRANK ANTHONY AMODEO,                                             OF FORFEITURE
       Defendant.


       Upon review of the United States of America’s Motion for Final Order of Forfeiture,

ECF No. 228, the Court finds:

       1.      On January 8, 2020, a Preliminary Order of Forfeiture was entered preliminarily

forfeiting certain property from the Defendant Frank Anthony Amodeo to the United States. ECF

No. 113.

       2.      The United States caused to be published on the official government internet

site notice of forfeiture of the property included in the Preliminary Order of Forfeiture.

ECF No. 195. No claims were filed and the time to file any claims has run.

       IT IS ORDERED, ADJUDGED, AND DECREED that the following property

is forfeited to the United States: approximately $46,681 in U.S. currency seized from a residence

in the 4900 block of Pleasant Street, West Des Moines, Iowa, on or about June 28, 2019.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all right,

title, and interest to the property described above is condemned, forfeited, and vested in the United

States of America and shall be disposed of according to law.
      Case 4:19-cr-00120-RGE-HCA Document 231 Filed 01/21/21 Page 2 of 2




       IT IS FURTHER ORDERED that the United States District Court shall retain

jurisdiction in the case for the purpose of enforcing this Order.

       IT IS SO ORDERED.

       Dated this 21st day of January, 2021.




                                                  2
